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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


    PFLAG, INC., et al.,
           Plaintiffs,

                           v.
                                                        Civil Action No. BAH-25-337
    DONALD J. TRUMP, in his official capacity
    as President of the United States, et al.,
            Defendants.


    PLAINTIFFS’ NON-OPPOSITION TO DEFENDANTS’ CONDITIONAL MOTION TO
                  CLARIFY TEMPORARY RESTRAINING ORDER

          Plaintiffs respectfully file this non-opposition to Defendants’ Conditional Motion to

Clarify Temporary Restraining Order (ECF No. 63). Plaintiffs agree that the Temporary

Restraining Order (“TRO”) the Court entered on February 13, 2025 (ECF No. 61) extends only

to Defendants U.S. Department of Health and Human Services (“HHS”), HHS Secretary Robert

F. Kennedy, Jr., 1 Health Resources and Services Administration (“HRS”), HRSA Principal

Deputy Diana Espinosa, National Institutes of Health (“NIH”), Acting NIH Director Matthew J.

Memoli, National Science Foundation (“NSF”), NSF Director Sethuraman Panchanathan, and

any subagencies of Defendant HHS, their officers, agents, successors, servants, employees, and

attorneys, and any other persons who are in active concert or participation with them. Paragraph

3 of the TRO thus requires notice of the TRO to all HHS subagencies, all of which are bound by

the TRO, including but not limited to Defendant HRSA and Defendant NIH, as well as




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  As Defendants note in their motion, pursuant to Federal Rule of Civil Procedure 25(d), Robert F. Kennedy,
Jr., Secretary of Health and Human Services, has been automatically substituted as a defendant in his
official capacity for his predecessor Dorothy Fink.
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Defendant NSF, as Defendants state in their proposed order attached to their motion. Plaintiffs

thus consent to the entry of the proposed order attached to Defendants’ motion.

Dated: February 16, 2025                            Respectfully submitted,

                                                    /s/ Zachary B. Cohen
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                                            **Application for admission forthcoming.

                                            ***Application for admission pro hac vice
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                                            principals of the firm admitted in Massachusetts.




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                              CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was electronically filed using the Court’s

CM/ECF system. Service was effected by and through the Court’s CM/ECF system.



Dated: February 16, 2025                                 /s/ Zachary B. Cohen
                                                         Zachary B. Cohen
